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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW JERSEY

  RONALD KOONS, et al.                              )
                                                    )   Civil Action No. 1:22-cv-07464-
                          Plaintiffs                )             RMB-AMD
                                                    )
       v.                                           )          CIVIL ACTION
                                                    )
  WILLIAM REYNOLDS, et al.                          )   (ELECTRONICALLY FILED)
                                                    )
                          Defendants                )
                                                    )
  -----------------------------------------------   )   CONSOLIDATED ACTIONS
                                                    )
  AARON SIEGEL, et al.                              )
                                                    )
                         Plaintiffs,                )
                                                    )
         v.
                                                    )
  MATTHEW PLATKIN, et al.                           )
                                                    )
                         Defendants.                )



     DECLARATION OF DANIEL L. SCHMUTTER IN SUPPORT OF
     SIEGEL PLAINTIFFS’ EMERGENCY MOTION TO REINSTATE
     CASE TO ACTIVE CALENDAR


         1.      I, Daniel L. Schmutter, am an attorney of the State of New Jersey and

  a member of Hartman & Winnicki, P.C., attorneys of record for the Siegel Plaintiffs

  in the above-titled action. I have personal knowledge of the facts set forth herein

  and, if called and sworn as a witness, could and would testify competently thereto.
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        2.     I submit this certification in support of Siegel Plaintiffs’ Emergency

  Motion to Reinstate the Case to the Active Calendar so they may seek to assert new

  claims challenging brand new egregious training and qualification requirement that

  directly suppress the fundamental right to carry in violation of New York State Rifle

  & Pistol Association v. Bruen, 142 S. Ct. 2111 (2022).

  A.    Background

        2.     This lawsuit was commenced on December 22, 2022 challenging New

  Jersey’s egregious enactment (on that same day) of what has been referred to in this

  action as Chapter 131, a series of laws designed to thoroughly suppress New

  Jerseyans’ fundamental Second Amendment right to bear arms – a right vindicated

  most recently by the United States Supreme Court in Bruen.

        3.     For decades, New Jersey had thoroughly suppressed the fundamental

  right of ordinary individuals to carry handguns outside their homes for lawful self-

  defense by requiring that an applicant for a permit to carry a handgun show a

  “justifiable need” — a standard that was impossible to satisfy for most ordinary New

  Jerseyans.

        4.     In broadly vindicating the fundamental right of ordinary individuals to

  carry handguns outside the home, the Bruen decision expressly invalidated need

  based criteria, such as “justifiable need” as a condition to obtain a permit to carry.

        5.     Deprived of its primary tool to suppress the right to carry, New Jersey


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  developed several “creative” new means to accomplish the same result – again in

  direct violation of Bruen and the Second Amendment. Among these new tools, were

  (1) designation of nearly everywhere in New Jersey (including one’s own vehicle)

  as a “sensitive place” where handgun carry was prohibited, as well as (2) the

  requirement of $300,000 of liability insurance as a condition of handgun carry. (See

  generally, Opinion, ECF No. 124,)

        6.     On May 16, 2023, this Court recognized that New Jersey’s pretextual

  attempts to, again, suppress the fundamental right to bear arms likely violated the

  Constitution and issued a preliminary injunction as to large portions of Chapter 131.

  (ECF Nos. 124, 125.)

  B.    New Jersey’s Brand New Egregious Constitutional Violations

        7.     As of eight days ago, New Jersey has imposed a brand new set of

  unconstitutional roadblocks to the exercise of the fundamental right to carry a

  handgun for lawful self-defense.

        8.     In addition to the provisions already enjoined by this Court, Chapter

  131 also amended N.J.S. 2C:58-4 to direct Defendant Superintendent of State Police

  to “establish [as a condition to obtaining or renewing a permit to carry a handgun]

  training requirements in the lawful and safe handling and storage of firearms” no

  later than July 1, 2023. See N.J.S. 2C:58-4(g). In addition to being a condition to

  obtaining or renewing a permit to carry a handgun, any permit holder who obtained


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  her permit on or after December 22, 2021 (nearly everyone) must satisfy the new

  requirement no later than October 1, 2023 (within 90 days of July 1, 2023).

         8.     The Superintendent released the new requirement last week on July 18,

  2023 (17 days late).

         Seehttps://nj.gov/njsp/firearms/pdf/PTC_Use_of_Force_and_Qualification_2

  0230721.pdf at 11-15. Siegel Plaintiffs assert that the new requirement is virtually

  identical to the qualification requirements for active and retired police officers.

         9.     Thus, as of eight days ago, New Jersey now conditions the exercise of

  the fundamental right to bear arms by ordinary individuals on achieving the same

  level of training and proficiency as a professional police officer even though citizen

  carry and dangerous police work involve wholly different purposes, circumstances,

  and skill sets.

         10.    Siegel Plaintiffs assert that members of law enforcement are held to a

  higher training standard because they are intentionally inserted into dangerous

  situations and charged with ensuring public safety, which may involve the use of

  firearms to stop crime and protect the public. In stark contrast, average citizens carry

  firearms only for self-defense in emergencies, and it is wholly inappropriate to hold

  them to the same training standard as members of law enforcement.

         11.    Siegel Plaintiffs assert that New Jersey’s purpose in imposing a law

  enforcement standard on average citizens is to unconstitutionally limit the number


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  of ordinary individuals who can qualify to exercise their fundamental right of self-

  defense.

        11.    For example, New Jersey now requires a demonstration of proficiency

  at tactical exercises such as shooting while kneeling behind cover, left handed

  shooting (by right handed individuals), shooting at a distance of 25 yards (which

  Siegel Plaintiffs assert is a distance much greater than is usual for ordinary citizen

  self-defense but which is entirely proper in police work), and reloading drills. While

  these exercise are appropriate for members of law enforcement, Siegel Plaintiffs

  assert that they are inappropriate and excessive for members of the general public

  who are not charged with upholding public safety. Id.

        11.    Moreover, persons who are elderly, disabled, pregnant, have arthritic

  joints, are wheelchair bound, or are otherwise physically limited—the very people

  with the greatest need to exercise armed self-defense in an emergency—may not be

  physically capable of performing these tactical police maneuvers.

        12.    While safe gun handling and basic firearms training are wholly

  appropriate for lawfully armed citizens, mandatory advanced tactical training as a

  condition to exercise a basic constitutional right is not, and serves only to limit the

  exercise of the right.

        10.    Accordingly, Siegel Plaintiff assert that this extremely onerous and

  inappropriate qualification requirement is plainly intended to, again, suppress the


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  right to carry by ordinary citizens and is unconstitutional.

  C.    Relief Sought

        11.    The Court’s preliminary injunction order is currently on appeal before

  the Court of Appeals for the Third Circuit. Accordingly, on June 22, 2023, this Court

  entered an order administratively terminating the case subject to reinstatement by

  letter at the request of a party after the appeal is disposed of by the Third Circuit.

  (ECF No. 130.)

        12.    In light of New Jersey’s new egregious attempt to, again, suppress the

  right to bear arms, Siegel Plaintiffs now move on an emergency basis to restore the

  case to the active calendar in order to file a motion to amend the Complaint and seek

  new emergency injunctive relief.

        13.    Although administrative reinstatement is customary accomplished by

  letter, the specific language used in this termination order may function to limit

  reinstatement by letter to only after the appeal is resolved. Thus, out of an abundance

  of caution, Siegel Plaintiffs are proceeding by motion.

        13.    Accordingly, Siegel Plaintiffs respectfully request that the Court

  immediately reinstate the case to the active calendar so that they may file a motion

  to amend the Complaint and a motion for new emergency injunctive relief as to the

  new qualification requirement.




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        I declare under penalty of perjury that the foregoing is true and correct.

  Executed within the United States.



        s/ Daniel L .Schmutter               July 26, 2023
        Daniel L. Schmutter                  Date




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